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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Jesse Wheeler
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                    )   Case No.: 2:11-cr-00504-03 WBS
 9                                                )
                   Plaintiff,                     )   STIPULATION AND ORDER FOR
10                                                    CONTINUANCE OF JUDGMENT AND
                                                  )   SENTENCING AND MODIFICATION
11          vs.                                   )   OF SCHEDULE FOR PSR
                                                  )
12                                                )
13   JESSE WHEELER,                               )   Date:    10/28/13
               Defendant.                         )   Time:    9:30 a.m.
14                                                )   Judge:   Hon. William B. Shubb
15                                                )
16
17          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
18   Judgment and Sentencing scheduled for September 16, 2013, at 9:30 a.m. is continued to
19   October 28, 2013, at 9:30 a.m. in the same courtroom. The continuance is requested
20   because defense counsel needs additional time to prepare for the Pre-Sentence Report
21   (PSR) due to the fact that defense counsel is currently in another federal trial. Lee
22   Bickley, Assistant United States Attorney, and Thomas A. Johnson, Defendant’s
23   attorney, agree to this continuance.
24
25   IT IS SO STIPULATED.
26
     DATED: July 10, 2013                              By:     /s/ Thomas A. Johnson
27                                                             THOMAS A. JOHNSON
                                                               Attorney for Defendant
28                                                             JESSE WHEELER


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 1
 2
     DATED: July 10, 2013                           BENJAMIN B. WAGNER
 3                                                  United States Attorney
 4                                            By:   /s/ Thomas A. Johnson for
                                                    LEE BICKLEY
 5                                                  Assistant United States Attorney
 6
     IT IS SO ORDERED.
 7
 8   Dated: July 11, 2013
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 1                               IN THE UNITED STATES DISTRICT COURT
 2                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
                                                    )   Case No.: 2:11-cr-00504-WBS
 4   UNITED STATES OF AMERICA,                      )
                                                    )   MODIFICATION OF SCHEDULE FOR
 5                  Plaintiff,                      )   PRE-SENTENCE REPORT AND FOR
                                                    )   FILING OF OBJECTIONS TO THE PRE-
 6          v.                                      )   SENTENCE REPORT
                                                    )
 7                                                  )
     JESSE WHEELER,                                 )
 8                                                  )
                    Defendant.                      )
 9
10
     Judgment and Sentencing date:                              October 28, 2013
11
     Reply or Statement                                         October 21, 2013
12
13   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                   October 14, 2013
14   served on the Probation Officer and opposing
15   counsel no later than:

16   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later                October 7, 2013       __
17   than:
18
     Counsel’s written objections to the Pre-
19   Sentence Report shall be delivered to the                  September 30, 2013
     Probation Officer and opposing counsel
20   no later than:
21
     The proposed Pre-Sentence Report                           September 23, 2013
22   shall be disclosed to counsel no later than:
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